     Case: 1:04-cv-07309 Document #: 579 Filed: 12/20/07 Page 1 of 3 PageID #:3802
AO 450(Rev. 5/85)Judgment in a Civil Case


                             United States District Court
                                    Northern District of Illinois
                                            Eastern Division



 KEVIN FOX, et al.                                         JUDGMENT IN A CIVIL CASE
                      v.                                              Case Number: 04 C 7309
 WILL COUNTY, et al.

 O          Jury Verdict. This action came before the Court for a trial by jury. The issues have been
            tried and the jury rendered its verdict.
 G          Decision by Court. This action came to trial or hearing before the Court. The issues
            have been tried or heard and a decision has been rendered.



 IT IS HEREBY ORDERED AND ADJUDGED that judgment is entered in favor of plaintiff
 Kevin Fox and against defendants Hayes, Swearengen, Guilfoyle, Wachtl and Estate of John
 Ruettiger as to the Due Process Claim, False Arrest Claim and Intentional Infliction of
 Emotion Distress Claim and in favor of plaintiff Kevin Fox and against defendants Hayes and
 Swearengen as to the Malicious Prosecution Claim. The jury finds in favor of defendants and
 against plaintiff Kevin Fox as to the False Imprisonment Claim and Conspiracy Claim. The
 total award of damages to plaintiff Kevin Fox is $9,300,000.00. The jury finds in favor of
 plaintiff Melissa Fox and against defendants Hayes, Swearengen, Guilfoyle, Wachtl and
 Estate of John Ruettiger as to Loss of Consortium Claim and in favor of Melissa Fox and
 against Hayes as to the Intentional Infliction of Emotional Distress Claim. The jury finds in
 favor of defendants and against plaintiff Melissa Fox as to the Conspiracy Claim. The total
 award of damages as to plaintiff Melissa Fox is $6,200,000.00. The jury awards punitive
 damages to plaintiffs Kevin and Melissa Fox and against defendants Hayes, Swearengen,
 Guilfoyle, Wacht and Estate of John Ruettiger.




                                                  Michael W. Dobbins, Clerk of Court


 Date: 12/20/2007                                 ________________________________
                                                  /s/ Jacquelyn H. Collier, Deputy Clerk
     Case: 1:04-cv-07309 Document #: 579 Filed: 12/20/07 Page 2 of 3 PageID #:3803
AO 450(Rev. 5/85)Judgment in a Civil Case


                             United States District Court
                                    Northern District of Illinois
                                            Eastern Division



 KEVIN FOX, et al.                                         JUDGMENT IN A CIVIL CASE
                      v.                                              Case Number: 04 C 7309
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 O          Jury Verdict. This action came before the Court for a trial by jury. The issues have been
            tried and the jury rendered its verdict.
 G          Decision by Court. This action came to trial or hearing before the Court. The issues
            have been tried or heard and a decision has been rendered.



 IT IS HEREBY ORDERED AND ADJUDGED that judgment is entered in favor of plaintiff
 Kevin Fox and against defendants Hayes, Swearengen, Guilfoyle, Wachtl and Estate of John
 Ruettiger as to the Due Process Claim, False Arrest Claim and Intentional Infliction of
 Emotion Distress Claim and in favor of plaintiff Kevin Fox and against defendants Hayes and
 Swearengen as to the Malicious Prosecution Claim. The jury finds in favor of defendants and
 against plaintiff Kevin Fox as to the False Imprisonment Claim and Conspiracy Claim. The
 total award of damages to plaintiff Kevin Fox is $9,300,000.00. The jury finds in favor of
 plaintiff Melissa Fox and against defendants Hayes, Swearengen, Guilfoyle, Wachtl and
 Estate of John Ruettiger as to Loss of Consortium Claim and in favor of Melissa Fox and
 against Hayes as to the Intentional Infliction of Emotional Distress Claim. The jury finds in
 favor of defendants and against plaintiff Melissa Fox as to the Conspiracy Claim. The total
 award of damages as to plaintiff Melissa Fox is $6,200,000.00. The jury awards punitive
 damages to plaintiffs Kevin and Melissa Fox and against defendants Hayes, Swearengen,
 Guilfoyle, Wacht and Estate of John Ruettiger.




                                                  Michael W. Dobbins, Clerk of Court


 Date: 12/20/2007                                 ________________________________
                                                  /s/ Jacquelyn H. Collier, Deputy Clerk
     Case: 1:04-cv-07309 Document #: 579 Filed: 12/20/07 Page 3 of 3 PageID #:3804
AO 450(Rev. 5/85)Judgment in a Civil Case


                             United States District Court
                                    Northern District of Illinois
                                            Eastern Division



 KEVIN FOX, et al.                                         JUDGMENT IN A CIVIL CASE
                      v.                                              Case Number: 04 C 7309
 WILL COUNTY, et al.

 O          Jury Verdict. This action came before the Court for a trial by jury. The issues have been
            tried and the jury rendered its verdict.
 G          Decision by Court. This action came to trial or hearing before the Court. The issues
            have been tried or heard and a decision has been rendered.



 IT IS HEREBY ORDERED AND ADJUDGED that judgment is entered in favor of plaintiff
 Kevin Fox and against defendants Hayes, Swearengen, Guilfoyle, Wachtl and Estate of John
 Ruettiger as to the Due Process Claim, False Arrest Claim and Intentional Infliction of
 Emotion Distress Claim and in favor of plaintiff Kevin Fox and against defendants Hayes and
 Swearengen as to the Malicious Prosecution Claim. The jury finds in favor of defendants and
 against plaintiff Kevin Fox as to the False Imprisonment Claim and Conspiracy Claim. The
 total award of damages to plaintiff Kevin Fox is $9,300,000.00. The jury finds in favor of
 plaintiff Melissa Fox and against defendants Hayes, Swearengen, Guilfoyle, Wachtl and
 Estate of John Ruettiger as to Loss of Consortium Claim and in favor of Melissa Fox and
 against Hayes as to the Intentional Infliction of Emotional Distress Claim. The jury finds in
 favor of defendants and against plaintiff Melissa Fox as to the Conspiracy Claim. The total
 award of damages as to plaintiff Melissa Fox is $6,200,000.00. The jury awards punitive
 damages to plaintiffs Kevin and Melissa Fox and against defendants Hayes, Swearengen,
 Guilfoyle, Wacht and Estate of John Ruettiger.




                                                  Michael W. Dobbins, Clerk of Court


 Date: 12/20/2007                                 ________________________________
                                                  /s/ Jacquelyn H. Collier, Deputy Clerk
